  Case 2:21-cv-00090-JDL Document 1 Filed 03/31/21 Page 1 of 9                        PageID #: 1


                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF MAINE

Private Capital Fund LLC                            CIVIL ACTION NO:

                Plaintiff                           COMPLAINT

                         vs.                        RE:
                                                    15 Drummond Street, Auburn, ME 04212

Kathryn M. Begg                                     Mortgage:
                                                    April 18, 2007
                                                    Book 7118, Page 197

                Defendant


        NOW COMES the Plaintiff, Private Capital Fund LLC, by and through its attorneys,

Doonan, Graves & Longoria, LLC, and hereby complains against the Defendant, Kathryn M. Begg,

as follows:

                                JURISDICTION AND VENUE

    1. This Court has jurisdiction over this action pursuant 28 U.S.C. § 1332(a)(1) (Diversity)

        because the Plaintiff and Defendant are citizens of different states and the matter in

        controversy exceeds the sum or value of seventy-five thousand and 00/100 ($75,000.00)

        dollars, exclusive of interest and costs. Any Court of the United States, upon the filing of

        an appropriate pleading, may declare the rights and other legal relations of any interested

        party seeking such declaration, whether or not further relief is or could be sought under 28

        U.S.C. § 2201.

    2. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(1) because the

        object of this litigation is a Note executed under seal currently owned and held by Private

        Capital Fund LLC, in which the Defendant, Kathryn M. Begg, is the obligor and the total

        amount owed under the terms of the Note is Two Hundred Sixty-Six Thousand Nine

        Hundred Eighty-Two and 57/100 ($266,982.57) Dollars, plus attorney fees and costs
Case 2:21-cv-00090-JDL Document 1 Filed 03/31/21 Page 2 of 9                       PageID #: 2


   associated with the instant action; thus, the amount in controversy exceeds the jurisdictional

   threshold of seventy-five thousand ($75,000.00) dollars.

3. Venue is properly exercised pursuant to 28 U.S.C. §1391(b)(2) insofar as all or a substantial

   portion of the events that give rise to the Plaintiff ’s claims transpired in Maine and the

   property is located in Maine.

                                         PARTIES

4. Private Capital Fund LLC is a corporation with its principal place of business located at

   4300 Stevens Creek Blvd, Suite 275, San Jose, CA 95129.

5. The Defendant, Kathryn M. Begg, is a resident of Auburn, County of Androscoggin and

   State of Maine.

                                           FACTS

6. On September 3, 2003, by virtue of a Warranty Deed from Staci L. Hollis-Larsen and Martin

   L. Larsen, which is recorded in the Androscoggin County Registry of Deeds in Book 5611,

   Page 56, the property situated at 15 Drummond Street, City/Town of Auburn, County of

   Androscoggin, and State of Maine, was conveyed to Kathryn M. Begg, being more

   particularly described by the attached Exhibit A;

7. On April 18, 2007, Defendant, Kathryn M. Begg, executed and delivered to First Horizon

   Home Loan Corporation a certain Note under seal in the amount of $168,750.00.

   Defendant, Kathryn M. Begg's personal liability is limited and/or extinguished by the

   Chapter 7 bankruptcy filed which resulted in a bankruptcy discharge. See Exhibit B (a true

   and correct copy of the Note is attached hereto and incorporated herein).
Case 2:21-cv-00090-JDL Document 1 Filed 03/31/21 Page 3 of 9                  PageID #: 3


8. To secure said Note, on April 18, 2007, Defendant, Kathryn M. Begg executed a Mortgage

   Deed in favor of Mortgage Electronic Registration Systems, Inc., as nominee for First

   Horizon Home Loan Corporation, securing the property located at 15 Drummond Street,

   Auburn, ME 04212 which Mortgage Deed is recorded in the Androscoggin County Registry

   of Deeds in Book 7118, Page 197. See Exhibit C (a true and correct copy of the Mortgage

   is attached hereto and incorporated herein).

9. The Mortgage was then assigned to The Bank of New York Mellon f/k/a The Bank of

   New York, as Trustee for the Holders of the Certificates, First Horizon Mortgage Pass-

   Through Certifies Series FHAMS 2007-FA4, by First Horizon Home Loans, a Division of

   First Tennessee Bank National Association by virtue of an Assignment of Mortgage dated

   September 26, 2013 and recorded in the Androscoggin County Registry of Deeds in Book

   8787, Page 209. See Exhibit D (a true and correct copy of the Assignment of Mortgage is

   attached hereto and incorporated herein).

10. The Mortgage was then assigned to The Bank of New York Mellon, as Trustee for First

   Horizon Alternative Mortgage Securities Trust 2007-FA4 by virtue of an Assignment of

   Mortgage dated February 2, 2015 and recorded in the Androscoggin County Registry of

   Deeds in Book 9091, Page 128. See Exhibit E (a true and correct copy of the Assignment

   of Mortgage is attached hereto and incorporated herein).

11. The Mortgage was further assigned to The Bank of New York Mellon, as Trustee for First

   Horizon Alternative Mortgage Securities Trust 2007-FA4 c/o Nationstar Mortgage LLC by

   virtue of a Quitclaim Assignment dated January 26, 2016 and recorded in the Androscoggin

   County Registry of Deeds in Book 9303, Page 120. See Exhibit F (a true and correct copy

   of the Quitclaim Assignment is attached hereto and incorporated herein).
Case 2:21-cv-00090-JDL Document 1 Filed 03/31/21 Page 4 of 9                  PageID #: 4


12. The Mortgage was then assigned to First Tennessee Bank National Association, successor

   Through Merger with First Horizon Home Loan Corporation by Nationstar Mortgage, LLC

   as Attorney in Fact by virtue of an Assignment of Mortgage dated July 30, 2018 and

   recorded in the Androscoggin County Registry of Deeds in Book 9897, Page 24. See

   Exhibit G (a true and correct copy of the Assignment of Mortgage is attached hereto and

   incorporated herein).

13. The Mortgage was then assigned to First Tennessee Bank National Association, successor by

   Merger to First Horizon Home Loans Corporation by Nationstar Mortgage, LLC as

   Attorney in Fact by virtue of an Assignment of Mortgage dated July 30, 2018 and recorded

   in the Androscoggin County Registry of Deeds in Book 9897, Page 28. See Exhibit H (a

   true and correct copy of the Assignment of Mortgage is attached hereto and incorporated

   herein).

14. The Mortgage was then assigned to Real Estate Growth Fund, LLC by virtue of an

   Assignment of Mortgage dated July 30, 2018 and recorded in the Androscoggin County

   Registry of Deeds in Book 9909, Page 3. See Exhibit I (a true and correct copy of the

   Assignment of Mortgage is attached hereto and incorporated herein).

15. The Mortgage was then assigned to Private Capital Fund, LLC by virtue of an Assignment

   of Mortgage dated November 5, 2018 and recorded in the Androscoggin County Registry

   of Deeds in Book 9997, Page 207. See Exhibit J (a true and correct copy of the

   Assignment of Mortgage is attached hereto and incorporated herein).

16. The Mortgage was further assigned to Private Capital Fund, LLC by virtue of a Quitclaim

   Assignment dated September 26, 2019 and recorded in the Androscoggin County Registry

   of Deeds in Book 10291, Page 142. See Exhibit K (a true and correct copy of the Quitclaim

   Assignment is attached hereto and incorporated herein).
Case 2:21-cv-00090-JDL Document 1 Filed 03/31/21 Page 5 of 9                      PageID #: 5


17. On March 30, 2020, the Defendant, Kathryn M. Begg, was sent a Notice of Mortgagor's

   Right to Cure, as evidenced by the Certificate of Mailing (herein after referred to as the

   “Demand Letter”). See Exhibit L (a true and correct copy of the Demand Letter is attached

   hereto and incorporated herein).

18. The Demand Letter informed the Defendant, Kathryn M. Begg, of the payment due date,

   the total amount necessary to cure the default, and the deadline by which the default must be

   cured, which was thirty-five (35) days from receipt of the Demand Letter. See Exhibit L.

19. The Defendant, Kathryn M. Begg, failed to cure the default prior to the expiration of the

   Demand Letter.

20. The Plaintiff, Private Capital Fund LLC, is the present holder of the Note pursuant to

   endorsement by the previous holder (if applicable), payment of value and physical

   possession of the Note in conformity with 11 M.R.S. § 3-1201, et seq., and Simansky v. Clark,

   147 A. 205, 128 Me. 280 (1929).

21. The Plaintiff, Private Capital Fund LLC, is the lawful holder and owner of the Note and

   Mortgage.

22. The Plaintiff, Private Capital Fund LLC, hereby certifies that all steps mandated by law to

   provide notice to the mortgagor pursuant to 14 M.R.S.A. § 6111 and/or Note and Mortgage

   were strictly performed.

23. The total debt owed under the Note and Mortgage as of March 19, 2021 is Two Hundred

   Sixty-Six Thousand Nine Hundred Eighty-Two and 57/100 ($266,982.57) Dollars, which

   includes:

                    Description                                Amount
    Principal Balance                                                     $155,615.05
    Interest                                                                $90,084.68
    Late Fees                                                                $5,662.55
    T & I Balance                                                           $15,620.29
Case 2:21-cv-00090-JDL Document 1 Filed 03/31/21 Page 6 of 9                        PageID #: 6


    Grand Total                                                             $266,982.57


24. Upon information and belief, the Defendant, Kathryn M. Begg, is presently in possession of

    the subject property originally secured by the Mortgage.

                      COUNT I – FORECLOSURE AND SALE

25. The Plaintiff, Private Capital Fund LLC, repeats and re-alleges paragraphs 1 through 24 as if

    fully set forth herein.

26. This is an action for foreclosure and sale respecting a real estate related Mortgage and title

    located at 15 Drummond Street, Auburn, County of Androscoggin, and State of Maine. See

    Exhibit A.

27. The Plaintiff, Private Capital Fund LLC, is the holder of the Note referenced in Paragraph 7

    pursuant to endorsement by the previous holder (if applicable) and physical possession of

    the aforesaid Note in conformity with Title 11, section 3-1201, et seq. of the Maine Revised

    Statutes and Simansky v. Clark, 147 A. 205, 128 Me. 280 (1929). As such, Plaintiff, Private

    Capital Fund LLC, has the right to foreclosure and sale upon the subject property.

28. The Plaintiff, Private Capital Fund LLC, is the current owner and investor of the aforesaid

    Mortgage and Note.

29. The Defendant, Kathryn M. Begg, is presently in default on said Mortgage and Note, having

    failed to make the monthly payment due March 1, 2012, and all subsequent payments, and,

    therefore, has breached the condition of the aforesaid Mortgage and Note.

30. The total debt owed under the Note and Mortgage as of March 19, 2021 is Two Hundred

    Sixty-Six Thousand Nine Hundred Eighty-Two and 57/100 ($266,982.57) Dollars, which

    includes:

                    Description                                 Amount
    Principal Balance                                                       $155,615.05
  Case 2:21-cv-00090-JDL Document 1 Filed 03/31/21 Page 7 of 9                     PageID #: 7


       Interest                                                              $90,084.68
       Late Fees                                                               $5,662.55
       T & I Balance                                                         $15,620.29
       Grand Total                                                          $266,982.57


   31. The record established through the Androscoggin County Registry of Deeds indicates that

       there are no public utility easements recorded subsequent to the Mortgage and prior to the

       commencement of these proceedings affecting the mortgaged premises at issue herein.

   32. By virtue of the Defendant, Kathryn M. Begg's breach of condition, the Plaintiff hereby

       demands a foreclosure and sale on said real estate, as affected by Defendant, Kathryn M.

       Begg's discharge in bankruptcy and, accordingly, this action does not seek any personal

       liability on the part of the Defendant, Kathryn M. Begg, but only seeks in rem judgment

       against the property.

   33. Notice in conformity with 14 M.R.S.A. § 6111 and/or Note and Mortgage was sent to the

       Defendant, Kathryn M. Begg, on March 30, 2020, evidenced by the Certificate of Mailing.

       See Exhibit L

   34. The Defendant, Kathryn M. Begg, is not in the Military as evidenced by the attached Exhibit

       M.

   35. As part of the Defendant’s bankruptcy she represented to the Court that she would

       surrender the subject property and therefore is estopped from contesting this complaint of

       Foreclosure and Sale. See Exhibit N.

                                  PRAYERS FOR RELIEF

WHEREFORE, the Plaintiff, Private Capital Fund LLC, prays this Honorable Court:

   a) Issue a judgment of foreclosure and sale in conformity with Title 14 § 6322, as affected by

       Defendant, Kathryn M. Begg's discharge in bankruptcy, and accordingly, this action does not
Case 2:21-cv-00090-JDL Document 1 Filed 03/31/21 Page 8 of 9                    PageID #: 8


   seek any personal liability on the part of the Defendant, but only seeks in rem judgment

   against the property;

b) Grant possession to the Plaintiff, Private Capital Fund LLC, upon the expiration of the

   period of redemption;

c) Find that the Defendant, Kathryn M. Begg, is in breach of the Note by failing to make

   payment due as of March 1, 2012, and all subsequent payments, however, as affected by

   Defendant, Kathryn M. Begg's discharge in bankruptcy, this action does not seek any

   personal liability on the part of the Defendant, Kathryn M. Begg, but only seeks in rem

   judgment against the property;

d) Find that the Defendant, Kathryn M. Begg, entered into a contract for a sum certain in

   exchange for a security interest in the subject property;

e) Find that it was the intent of the Defendant, Kathryn M. Begg, and the original lender, First

   Horizon Home Loan Corporation, on April 18, 2007 to create a mortgage on the property

   commonly known as and numbered as 15 Drummond Street, Auburn, ME 04212;

f) Impose the applicable time periods for redemption, etc., as reflected in 14 M.R.S.A. § 6322;

g) Find that while the Defendant, Kathryn M. Begg, have no personal liability in this matter, a

   Judgment of Foreclosure and Sale in this matter can be imposed in rem against the property

   commonly known as and numbered as 15 Drummond Street, Auburn, ME 04212;

h) For such other and further relief as this Honorable Court deems just and equitable.




                                                   Respectfully Submitted,
                                                   Private Capital Fund LLC,
                                                   By its attorneys,
  Case 2:21-cv-00090-JDL Document 1 Filed 03/31/21 Page 9 of 9        PageID #: 9



Dated: March 31, 2021
                                         /s/John A. Doonan, Esq.
                                         /s/Reneau J. Longoria, Esq.
                                         John A. Doonan, Esq., Bar No. 3250
                                         Reneau J. Longoria, Esq., Bar No. 5746
                                         Attorneys for Plaintiff
                                         Doonan, Graves & Longoria, LLC
                                         100 Cummings Center, Suite 303C
                                         Beverly, MA 01915
                                         (978) 921-2670
                                         JAD@dgandl.com
                                         RJL@dgandl.com
